               IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                        SOUTHERN DIVISION
                         No. 7:15-CR-2-7H
                                 )
UNITED STATES OF AMERICA,        )
                                 )              ORDER
     v.
                                 )
ORLANDO RASHAUD CHILDRESS,       )
     Defendant.                  )

      This matter is before the court on defendant’s motion for

reduction of sentence [DE #403].       The court has carefully reviewed

this matter and finds that defendant’s motion under § 3582 relies

on   Amendment   787   to   the   United   States   Sentencing   Guidelines

(“USSG”). However, Amendment 787 was enacted in 2014, and defendant

was not sentenced until 2015.        Therefore, Amendment 787 does not

afford relief to petitioner.

      This 11th day of January 2021.


                              __________________________________
                              Malcolm J. Howard
                              Senior United States District Judge
At Greenville, NC
#35




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